      3:21-cv-00278-RBH         Date Filed 01/28/21   Entry Number 1      Page 1 of 26




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA


 BRAD SIGMON,                                         Death Penalty Case
                                                        Execution date
                 Plaintiff,                            February 12, 2021
 v.
                                                         COMPLAINT
 BRYAN P. STIRLING in his official
 capacity as Director of the South
 Carolina Department of
 Corrections; SOUTH CAROLINA
 DEPARTMENT OF CORRECTIONS;
 and ALAN WILSON in his official
 capacity as the South Carolina
 Attorney General,

               Defendants.


                                      INTRODUCTION

       Defendants intend to execute Plaintiff Brad Sigmon in fifteen days on February 12,

2021. Under state law, he may elect the method that Defendants will use to kill him—

lethal injection or electrocution—by Friday, January 29. But Defendants have concealed

what each of those methods of execution actually entails. They refuse to disclose what

lethal injection protocol, if any, they will follow, or even what drug or drugs they will use.

Nor have they provided the information needed to assess whether their electric chair will

raise the “specter of excruciating pain” and the “certainty of cooked brains and blistered

bodies” that has led other jurisdictions to declare it unconstitutional. Dawson v. State.

554 S.E.2d 137, 144 (2001). As a result, Mr. Sigmon cannot know what safeguards, if

any, Defendants have taken to guard against his unconstitutionally torturous death.

       Defendants’ secrecy diminishes Mr. Sigmon’s statutorily-provided right of election
     3:21-cv-00278-RBH        Date Filed 01/28/21    Entry Number 1      Page 2 of 26




to no more than a guessing game. It prevents Mr. Sigmon and this Court from determining

whether either or both of Defendants’ methods violates his constitutional rights, and it

prevents his counsel from safeguarding those rights, depriving him of their assistance in

violation of statute and due process.         Defendants’ secrecy casts doubt on the

constitutionality of any execution imposed on Plaintiff.

       At its heart, this lawsuit seeks to vindicate Plaintiff’s rights to due process and to

the assistance of counsel in making informed decisions related to his statutory right to

select an execution method. Unless Defendants provide their execution protocols and

additional information Mr. Sigmon has pursued for months, he will become the first person

in the United States in at least the last forty-five years to be executed without knowing

how he will die.

                               NATURE OF THE ACTION

       This action is brought pursuant to 42 U.S.C. sections 1983 and 1988 and 28 U.S.C.

sections 2201 and 2202, for violations and threatened violations of Brad Sigmon’s right

to be free from cruel and unusual punishment under the Eighth and Fourteenth

Amendments to the United States Constitution; right to due process under the Fourteenth

Amendment to the United States Constitution; and statutory and due process rights to the

assistance of counsel pursuant to the Sixth Amendment to the United States Constitution

and the Criminal Justice Act, 18 U.S.C. § 3006A, and its corresponding policies. Plaintiff

alleges the following against Defendants:

                             PARTIES AND JURISDICTION

   1. Plaintiff Brad Sigmon is a citizen of the United States of America and an inmate

       currently imprisoned under a sentence of death. He is under the custody and



                                             2
  3:21-cv-00278-RBH       Date Filed 01/28/21     Entry Number 1       Page 3 of 26




   control of the South Carolina Department of Corrections.

2. Defendant Bryan Stirling is the Director of the South Carolina Department of

   Corrections (“SCDC”) and charged by South Carolina law with carrying out

   executions in South Carolina. He is sued in his official capacity.

3. Defendant SCDC is an arm of the government of the State of South Carolina and

   is responsible for the custody and care of incarcerated individuals.

4. Defendant Alan Wilson is the Attorney General of South Carolina. Wilson and his

   employees and agents, through the Office of the Attorney General, represent the

   State of South Carolina in any criminal and civil action in which the State of South

   Carolina has an interest.

5. This Complaint alleges violations of federal statutes and the United States

   Constitution.

6. This Court has subject matter over both the parties and the subject matter of this

   action.

                                       FACTS

7. South Carolina law provides that “[a] person convicted of a capital crime and

   having imposed upon him the sentence of death shall suffer the penalty by

   electrocution or, at the election of the person, lethal injection under the direction of

   the Director of the Department of Corrections.” S.C. Code Ann. § 24-3-530(A).

   The statute provides no specifics as to either method, leaving SCDC with

   unfettered discretion to perform lethal injections and electrocutions as it chooses.

   The prisoner must make “[t]he election for death by electrocution or lethal

   injection…in writing fourteen days before the execution date or it is waived.” Id. If



                                          3
  3:21-cv-00278-RBH       Date Filed 01/28/21     Entry Number 1       Page 4 of 26




   a prisoner fails to make an election by this date, the statute provides that the default

   method of execution is lethal injection. Id.

8. South Carolina has not carried out an execution by lethal injection since 2011. It

   has not carried out an execution by electrocution since 2008.

9. Brad Sigmon was sentenced to death in Greenville County for two counts of

   murder stemming from the same incident. He completed the ordinary course of

   his state and federal post-conviction proceedings on January 11, 2021, when the

   Supreme Court of the United States denied his petition for a writ of certiorari.

   Sigmon v. Stirling, No. 20-6166, 2021 WL 78320 (Mem.) (Jan. 11, 2021).

10. Several months before that date, on September 1, 2020, Sigmon’s counsel Joshua

   Snow Kendrick and lawyers from Justice 360, which represents Sigmon and other

   death-sentenced inmates in South Carolina, sent a letter to Defendant SCDC

   requesting: (1) the SCDC lethal injection directive or protocol, including the “type(s)

   of lethal injection drug(s) to be used;” (2) the SCDC electrocution directive or

   protocol; (3) information related to the qualifications and training of individuals

   making up the execution team; and, (4) any modifications to the execution

   protocols related to the COVID-19 pandemic.           Counsel made this request in

   keeping with Defendant SCDC’s historical practice of providing its execution

   protocols to counsel for those prisoners’ executions. Ex. 1.

11. On September 29, 2020, Salley W. Elliot, Defendant SCDC’s Chief Legal and

   Compliance Officer, responded by letter denying each of Sigmon’s requests and

   providing no information about how SCDC intends to carry out executions. Ex. 2.

12. Defendants have continued to oppose efforts by death-sentenced prisoners to



                                          4
  3:21-cv-00278-RBH        Date Filed 01/28/21   Entry Number 1     Page 5 of 26




   obtain information about Defendants’ methods of execution. Undersigned counsel

   Justice 360 filed a complaint in this court alleging that Defendants’ refusal to

   provide their execution protocols and related information violates Justice 360’s

   right to professional speech under the First Amendment.          Defendant SCDC

   opposes disclosure under this theory, although this litigation remains pending.

   Justice 360 v. Stirling, No: 3:20-03671-MGL (D.S.C.).

13. Defendants have also continued to request the scheduling of execution dates—

   first with Mr. Moore, and now with Mr. Sigmon—without disclosing this critical

   information and, apparently, without having possession of the drugs they intend to

   use in lethal injections.

14. On November 6, 2020, per Defendant Wilson’s request, the Clerk of the Supreme

   Court of South Carolina issued an order scheduling Mr. Moore’s execution on

   December 4, 2020. When serving notice of the execution warrant on Mr. Moore

   later that same day, Defendant SCDC’s officials asked him then and there to

   exercise his right pursuant to Section 24-3-530(A) to elect his method of execution.

   When Mr. Moore declined, citing the lack of information provided as to either

   method, Defendant SCDC’s officials stated that they would return on November

   20, 2020—fourteen days before his scheduled execution and, per the statute, the

   last day on which he could make his election without waiver.

15. Mr. Moore made subsequent requests for the lethal injection and electrocution

   protocols through SCDC’s staff request system. Defendant SCDC did not respond

   to Mr. Moore’s requests prior to his deadline for electing between execution

   methods. After the deadline passed, SCDC officially denied Mr. Moore’s requests.



                                         5
        3:21-cv-00278-RBH      Date Filed 01/28/21    Entry Number 1      Page 6 of 26




   16. When Mr. Moore filed petitions for mandamus, certiorari, and declaratory judgment

         in the original jurisdiction of the Supreme Court of South Carolina, however,

         Defendant SCDC appeared to accede, stating in a return filed on November 18,

         2020, that it had “decided that it will allow members of Petitioner’s legal defense

         team access to the protocols for both electrocution and lethal injection before

         Petitioner makes his election on, or before, November 20, 2020.” Ex. 3. On that

         same day, however, Defendant SCDC’s spokesperson issued a statement to the

         media indicating that they were “actively pursuing avenues to obtain the drugs

         necessary for lethal injection, but…do not have any.” 1

   17. In their reply in the South Carolina Supreme Court, Mr. Moore’s counsel noted that

         the lethal injection protocol offered for review could not possibly be final if

         Defendant SCDC did not actually possess the drugs it required. When Mr. Moore’s

         counsel contacted Defendant SCDC to schedule that review, Defendant SCDC

         first imposed a list of “logistics for review” and demanded Mr. Moore’s counsel sign

         a “confidentiality agreement” prior to review.    The “confidentiality agreement”

         prohibited Mr. Moore’s counsel from making notes or copying the protocols or

         sharing the information with experts or the courts for purposes of the election and

         potential Eighth Amendment litigation. The “confidentiality agreement” further

         subjected Mr. Moore’s counsel to injunctive relief, money damages, and attorneys’

         fees and costs for any violation of the agreement. Because the question of the


1See,  e.g. Michelle Liu, South Carolina Schedules Execution but Doesn’t Have Drugs,
ASSOCIATED PRESS, Nov. 18, 2020, https://apnews.com/article/coronavirus-pandemic-
executions-south-carolina-spartanburg-fe4f4690d0d4ca8181e50f85b226a3ee          (last
visited January 25, 20201).


                                              6
      3:21-cv-00278-RBH       Date Filed 01/28/21     Entry Number 1       Page 7 of 26




       extent to which SCDC was required to provide information to Mr. Moore’s counsel

       for consultation with experts and use in potential litigation was pending before the

       court, Mr. Moore’s counsel refused to concede the information was confidential

       and declined to sign the “confidentiality agreement” and was not able to review the

       execution protocols. See Ex. 4. 2

    18. When Defendant SCDC’s officials returned to Mr. Moore on November 20, 2020,

       he refused to sign the notices of election they provided him, writing instead that he

       could not “make a selection at this time to method because my attorney and I do

       not have information for the protocols. By not selecting does not mean I waive my

       right to select.” Ex. 5.

    19. Later that same day, Defendant SCDC’s counsel sent a letter to Mr. Moore’s

       attorneys asserting that “SCDC’s current lethal injection protocol is a three-drug

       protocol, which begins with an injection of Pentobarbital, followed at an appropriate

       time interval by Pavulon (Pancuronium Bromide), and then followed at an

       appropriate time interval by Potassium Chloride.” Ex. 6. Defendant SCDC then

       “reserve[d] the right to amend its lethal injection protocol,” indicating that “if it is

       unable to secure sufficient quantities of each of the three drugs listed above, it is

       prepared to enact a one-drug protocol, which would consist of the use of

       Pentobarbital Sodium.” Id. (emphasis added).

    20. On November 30, 2020, the Supreme Court of South Carolina entered an order

       reporting that it had “been advised [that] the South Carolina Department of



2 The Supreme Court of South Carolina ultimately declined to exercise its original
jurisdiction without commenting on the merits of Mr. Moore’s claims.


                                              7
  3:21-cv-00278-RBH      Date Filed 01/28/21     Entry Number 1     Page 8 of 26




   Corrections does not have, and will not be able to obtain, the drugs required for

   execution by lethal injection by December 4, 2020. Accordingly, we stay the

   execution until the South Carolina Department of Corrections advises the Court it

   has the ability to perform the execution as required by the law.” Ex. 7.

21. Although Defendants have not yet advised the Supreme Court of South Carolina

   that they have obtained drugs to carry out executions, they are now repeating this

   sequence with Mr. Sigmon. Within hours of the Supreme Court’s denial of Mr.

   Sigmon’s petition for a writ of certiorari on January 11, Defendant Wilson, through

   Senior Assistant Deputy Attorney General Melody Brown, notified the Supreme

   Court of South Carolina of the decision and urged it to issue an execution order.

   Ex. 8.

22. That same day, Mr. Sigmon filed a motion with that Court asking that it either

   decline to set a date for his execution or enter a temporary stay of execution—

   noting, inter alia, that Defendant SCDC had not yet advised the Court that it had

   obtained the drugs necessary to conduct an execution by lethal injection, as

   ordered by the Court in Mr. Moore’s case. Ex. 9

23. On January 14, 2021, Defendant Wilson filed an opposition to Mr. Sigmon’s

   motion. Ex. 10.     Defendant Wilson conceded that, “despite on-going efforts,

   [Defendant SCDC] still, as of this filing, has not been able to obtain drugs to carry

   out lethal injection.” Ex. 8 at 3, n. 2. (emphasis added).       Defendant Wilson

   nonetheless insisted that the Court schedule Mr. Sigmon’s execution.

24. On Thursday, January 21, 2021, the Supreme Court of South Carolina entered an

   order directing Defendants Stirling and SCDC to execute Mr. Sigmon on the fourth



                                         8
  3:21-cv-00278-RBH      Date Filed 01/28/21   Entry Number 1       Page 9 of 26




   Friday from the date of the notice: February 12, 2021. Ex. 11.

25. Mr. Sigmon re-filed his motion for a temporary stay with the Supreme Court of

   South Carolina that same day. The motion remains pending.

26. On Friday, January 22, Defendant SCDC’s officials served notice of the execution

   warrant on Mr. Sigmon and, as with Mr. Moore, asked him to elect his method of

   execution. Like Mr. Moore, Mr. Sigmon declined on the grounds that he has

   insufficient information concerning Defendants’ execution protocols.

27. On Monday, January 25, Mr. Sigmon filed a request through SCDC’s

   administrative system stating that he did not have enough information to choose

   between the two methods of execution and requesting SCDC provide him with

   both the lethal injection and electrocution protocols. SCDC has not yet responded

   to Mr. Sigmon’s request but based on their prior response to Mr. Moore’s request

   for the same information, Mr. Sigmon and his counsel expect his request will be

   denied.

Defendants Have Deprived Mr. Sigmon of the Information Necessary to Exercise
and Safeguard His Rights

28. As of this filing, Mr. Sigmon remains scheduled for execution on February 12,

   2021. Defendants have not obtained lethal injection drugs—or, at least, have

   notified no one to the contrary—but assert their efforts to do so are “ongoing.”

   Consistent with their conduct in Mr. Moore’s case, Defendants will insist, pursuant

   to South Carolina law, that Plaintiff Sigmon exercise his right to elect his method

   of execution on Friday, January 29, 2021. Per Defendants’ response to Mr.

   Sigmon’s letter of September 29, 2020, and their subsequent representations,

   however, they will not—and, indeed, at this juncture, could not—provide him with


                                        9
 3:21-cv-00278-RBH           Date Filed 01/28/21   Entry Number 1   Page 10 of 26




   the information necessary for the meaningful exercise of that right.

29. On information and belief, no American jurisdiction has attempted to execute a

   person without providing him or his legal counsel access to basic information about

   how they will kill him.

30. Defendants ask Mr. Sigmon to choose between two options by which he will be

   executed.    One option is electrocution, yet they refuse to provide him with

   information about the current operability of their electric chair—which it has used

   since 1912. Mr. Sigmon does not know when or if it has been repaired, modified,

   inspected, or tested in the fifteen years since its last use. Defendants will not

   disclose their current procedures for electrocution, including: (1) the current or

   voltage they intend to administer to Mr. Sigmon, and how long they intend to

   administer it; (2) the scientific basis for the determination of the protocol; (3) the

   placement of the electrodes; (4) whether they intend to use natural or synthetic

   sponges, and the size and placement of these sponges; (5) what conductive

   material they intend to use (i.e., ammonium chloride), and what the electrical

   conductivity of this material is; (6) what the electric schematic of the power supply

   is, and whether a test of the power supply will be conducted prior to an execution;

   (7) if and how they intend to adjust the current or voltage to account for differences

   in individual inmates’ electrical resistance, based on their bone density and BMI,

   which impacts the effectiveness of execution by electrocution; and (8) what plans

   and procedures are in place in the case of a fire, a power failure, a blown fuse, or

   other unexpected event.

31. This information is critical in determining the risk of severe pain Mr. Sigmon may



                                           10
     3:21-cv-00278-RBH      Date Filed 01/28/21    Entry Number 1      Page 11 of 26




      face during his death. The risks of electrocution are well-documented by the

      jurisdictions that have declared it unconstitutional. 3 States that utilize it have

      experienced brutal botches. Pedro Medina’s head burst into flames during his 1997

      execution by electrocution—the second inmate to catch fire in the chair that

      decade—due to what a Florida court subsequently deemed “human error.” 4 Derick

      Lynn Peterson survived two applications of electricity during his 1991 execution in

      Virginia; it took three applications over seven-and-a-half minutes before he died.

      Wilbert Lee Evans bled profusely during his 1990 execution in Virginia; his blood

      sizzled as it dripped onto his shirt, drenching it, and he continued to moan until

      given a second shock of electricity. Moreover, upon information and belief, South

      Carolina has executed at least one person by electrocution in a manner that

      caused needless and excruciating pain. See Baxley v. Ozmint, No. 3:07-cv-04067-

      CMC, Baxley Dep., ECF No. 47-8 at 140-41 (describing the electrocution of James



3 See State v. Mata, 745 N.W.2d 229, 278 (Neb. 2008) (“electrocution has proven itself
to be a dinosaur more befitting the laboratory of Baron Frankenstein than the death
chamber of state prisons”); Dawson, 554 S.E.2d at 144 (death by electrocution raises
“specter of excruciating pain” and the “certainty of cooked brains and blistered bodies”);
see also Bryan v. Moore, 528 U.S. 1133 (2000) (dismissing as moot previously-granted
cert petition raising whether Florida’s use of the electric chair “unnecessarily exposes
[condemned men] to physical suffering and degradation” and “wanton psychological and
moral cruelty” violates the Eighth Amendment).
4 This “human error” was identified as using too dry of a sponge, and on using the
improper saline solution to conduct electricity. In Jessy Tafero’s botched execution in
1990, in which he too caught fire, the report blamed the use of a synthetic sponge in place
of a natural sponge. The engineers remained confident that the 74-year-old chair could
not possibly have any flaws it its design. See Brent Kallestad, Engineers say human error
to blame in botched execution, AP NEWS (April 11, 1997) (available at
https://apnews.com/article/5b17fe6815673a23f1e88607c6e42e5a)


                                            11
     3:21-cv-00278-RBH       Date Filed 01/28/21    Entry Number 1      Page 12 of 26




       Tucker, during which Colie Rushton, currently employed by SCDC as the head of

       Security and Emergency Operations, was “[l]aughing and joking” after “they took

       the hood off and the inmates face was black, had his mouth like that, and like I

       said, his eyes and everything was just like he was in just gruesome pain”).

    32. On information and belief, SCDC has never developed an execution protocol for

       electrocution through any validated scientific or medical process that is designed

       to reduced pain and suffering. Over the years, the State continued to change its

       electrocution protocol, varying the strength and timing of the initial voltage and the

       subsequent charges, but that did not prevent botched electrocutions from

       happening. 5 On information and belief, a significant percentage of executions by

       electrocution in South Carolina have resulted in unnecessary pain and suffering.

    33. Alternatively, Defendants ask Mr. Sigmon to choose lethal injection, but have told

       only what drugs they might use, while reserving their “rights” to change their mind

       at any time. Accordingly, Mr. Sigmon cannot know: which drugs Defendants would

       actually use, and in what dosage and combination; the origin of those drugs,


5 In 1943, the state botched the execution of Jesse Jones, a large a powerful man, when
they administered an initial shock of 2200 volts followed by two secondary shocks. Jesse
Jones is Executed for Murder, THE GAFFNEY LEDGER (Apr. 6, 1943). The next year, when
the State executed fifteen-year-old, ninety-pound George Stinney, Jr., they used a
different protocol: 2400 volts, followed by a second burst of 1400 volts, and a third of 500
volts. The first shock knocked the mask off of George’s face, and the electrocution was
not immediately successful; while he was being transported to the funeral home for burial,
George sighed loudly and a witness briefly detected a heartbeat. Deanna Pan & Jennifer
Berry Hawes, Young Lawyer Dusts of Old Evidence to Cast Doubt on George Stinney’s
Conviction,          POST          &       COURIER          (Mar.         26,         2018),
https://www.postandcourier.com/news/special_reports/young-lawyer-dusts-off-old-
evidence-to-cast-doubt-on-george-stinneys-conviction/article_d31c3a90-2928-11e8-
b103-33404ec5d9c5.html; CHARLES KELLY, NEXT STOP ETERNITY at 54 (2016).


                                             12
       3:21-cv-00278-RBH        Date Filed 01/28/21      Entry Number 1       Page 13 of 26




         including where, when, and how they were manufactured or compounded; the

         quality control measures and results of any testing administered to ensure the

         identity, purity, potency, acidity or causticity (“pH”), and purity of the lethal injection

         drugs, and to detect contamination; how the drugs were stored and handled; and

         the expiration dates of both the drugs themselves.

     34. Nor will Mr. Sigmon know the procedures Defendants would actually follow, or the

         training and qualifications of personnel administering it.         The risks posed by

         inexperienced and unqualified execution teams are well documented. Without

         sufficient training, the team members have required multiple attempts to establish

         an intravenous line, causing unnecessary pain to the prisoner.               This risk is

         illustrated by Ohio’s 2009 attempt to execute Romell Broom, whose inexperienced

         execution team and prison doctor stabbed him with needles for more than two-

         and-a-half hours, leaving him in agony, before the governor halted his execution. 6

     35. Inexperienced and unqualified execution teams have begun executions without

         establishing a patent IV line in the prisoner’s vein, causing the prisoner extreme

         pain and suffering and significantly delaying when the drugs take effect. These

         risks are illustrated by Florida’s 2006 execution of Angel Diaz, when a misplaced

         line allowed the caustic lethal injection drugs to leak into the soft tissue of his arms,

         causing chemical burns so severe that the skin on his arms sloughed away but

         failing to render him unconscious. 7 Similarly, the personnel for Oklahoma’s 2014



6 After Surviving Botched Execution, Romell Broom Dies of Covid-19, EJI ((Jan. 4, 2021)
(available at: https://eji.org/news/after-surviving-botched-execution-romell-broom-dies-
of-covid-19/)
7   Ben Crair, Photos from a Botched Lethal Injection, THE NEW REPUBLIC

                                                 13
     3:21-cv-00278-RBH      Date Filed 01/28/21    Entry Number 1      Page 14 of 26




       execution of Clayton Lockett pierced a vein in his groin, causing him to writhe and

       gasp for thirty minutes before he died of a heart attack. 8 But even if an IV is

       properly placed, the rate at which the executioners administer the drug or drugs

       can affect both the pain the prisoner experiences and the efficacy of the execution.

    36. A sordid episode in South Carolina’s own history with executions suggests a

       combination of these risks. In 1997, Michael Eugene Elkins was probed with

       needles for more than an hour before the execution team located a supposedly

       suitable vein in the back of his neck, and only after Elkins himself asked the

       executioners, “Should I lean my head down a little bit?” The execution began at

       12:01 a.m., but Elkins was not pronounced dead until nearly an hour later, at 12:58

       a.m.

    37. Such risks remain a significant concern at SCDC. South Carolina has used a

       three-drug lethal injection protocol featuring Pentobarbital only once, in May of

       2011, and has carried out no executions of any kind since. Upon information and

       belief, SCDC did not provide its employees with training even then. See Baxley,

       No. 3:07-cv-04067-CMC, Amended Complaint, ECF No. 6 at ¶ 25 (Dec. 21, 2007).

       On at least one occasion, the employees administering the drugs developed their

       plan as to how they would inject the drugs on the day of the execution as they were


(May 29, 2014), available at: http: www.newrepublic.com/article/117898/lethalinjection-
photos-angel-diazs-botched-execution-florida (Last visited: January 25, 2021). Counsel
cautions the Court that the photos of the damage done to Mr. Diaz by the improperly-
injected drugs are quite graphic.
8 Jeffrey E. Stern, The Cruel and Unusual Execution of Clayton Lockett (June 2015)
(Available at: https://www.theatlantic.com/magazine/archive/2015/06/execution-clayton-
lockett/392069/)


                                            14
 3:21-cv-00278-RBH         Date Filed 01/28/21     Entry Number 1       Page 15 of 26




   picking up the drugs. Baxley, No. 3:07-cv-04067-CMC, Bracy Dep., ECF No. 47-

   4 at 60-62, 69, 74-75 & ECF No. 47-5 at 107:13-22 (June 8, 2009). On another

   occasion, while the execution was taking place, drugs began to leak on the floor.

   Baxley, No. 3:07-cv-04067-CMC, Baxley Dep., ECF No. 47-8 at 153. The

   executioners hoped it would not be a problem and prepared to administer more

   drugs. Id. (describing Colie Ruston “act[ing] like it was all a game and laughing

   and joking and that kind of thing” while lethal injection “drugs along with [the

   condemned man’s] blood and everything went on the floor” and the condemned

   man “flat-line[ed] without us going to the second set of drugs”). These guess-and-

   check procedures increase the likelihood of a condemned person suffering a

   painful and torturous death.

38. On information and belief, SCDC may force its employees to take part in Sigmon’s

   execution, complicating the situation further by introducing the uncertainty of a

   disgruntled or emotionally unwell executioner. E.g., Baxley, No. 3:07-cv-04067-

   CMC, Amended Complaint, ECF No. 6 at ¶¶ 8-9, 15, 25 (Dec. 21, 2007).

                        FOR A FIRST CAUSE OF ACTION

(Violation of Due Process Rights to Notice and an Opportunity to Be Heard)

39. The 5th and 14th Amendments to the United States Constitution guarantee

   American citizens the right to due process.

40. Citizens are entitled to due process protections if the interest they assert falls within

   the implicit meaning of liberty or if it flows from an expectation created by state law

   or policies. Wilkinson v. Austin, 545 U.S. 209, 221 (2005).

41. The right to life is the most fundamental of the liberty rights protected by the



                                           15
 3:21-cv-00278-RBH       Date Filed 01/28/21    Entry Number 1      Page 16 of 26




   constitution, and when the government seeks to deprive a citizen of life, the

   process to which they are entitled is correspondingly robust. See Louisiana ex rel

   Francis v. Resweber, 329 U.S. 459, 467 (1947) (Frankfurter, J., concurring). For

   a condemned person, adequate process encompasses not only the criminal trial

   and corresponding appellate rights, but also the procedures necessary to ensure

   that his sentence is carried out in a manner consistent with notions of fundamental

   fairness. E.g., Panetti v. Quarterman, 551 U.S. 930, 949 (2007) (describing why

   due process requires states to provide a condemned person who has made a

   substantial showing of insanity an opportunity to be heard).

42. When a condemned person is facing execution, he is entitled to enough process

   to ensure that his punishment is not carried out “in a manner that violates standards

   of decency.” Francis, 329 U.S. at 379 (Frankfurter, J., concurring). At a minimum,

   that process must encompass the foundational elements of due process: notice

   and an opportunity to be heard “at a meaningful time and in a meaningful manner.”

   Fuentes v. Shevin, 407 U.S. 67, 80 (1972) (emphasis added).

43. By not informing Mr. Sigmon how it intends to kill him, SCDC has deprived him of

   adequate notice of the method of his execution, which has deprived him of a

   meaningful opportunity to test the fairness of that method.

44. Specifically, SCDC’s refusal to provide even the most basic information about his

   execution has interfered with his right to “adequate, effective, and meaningful”

   access to the courts. Bounds v. Smith, 430 U.S. 817, 822-23 (1977); see also

   Wolff v. McDonnell, 418 U.S. 539, 579 (1974) (“[R]ight of access to the courts . . .

   is founded in the Due Process Clause.”). Inherent in the concept of due process



                                        16
 3:21-cv-00278-RBH       Date Filed 01/28/21    Entry Number 1      Page 17 of 26




   is the notion that the aggrieved must have “a reasonably adequate opportunity to

   present claimed violations of fundamental constitutional rights to the courts.” Lewis

   v. Casey, 518 U.S. 343, 351 (1996) (quoting Bounds, 430 U.S. at 825)); see also

   Murray v. Giarratano, 492 U.S. 1, 11, n. 6 (1989) (plurality opinion) (access to

   courts a due process right). SCDC’s silence here goes beyond the “incidental (and

   perfectly constitutional) consequences of confinement and incarceration.”         Cf.

   Giarratano v. Johnson, 521 F.3d 298, 306 (4th Cir. 2008). Instead, SCDC has

   unconstitutionally hindered Mr. Sigmon’s “efforts to pursue a legal claim.” Lewis,

   518 U.S. at 351. See also Snyder v. Nolen, 380 F.3d 279, 291 (7th Cir. 2004) (a

   prisoner’s access to the courts must be free from “undue interference” (quoting

   Elder v. Holloway, 510 U.S. 510, 514 (1994)).

                      FOR A SECOND CAUSE OF ACTION

                 (Violation of Procedural Due Process Rights)

45. This Claim is grounded in Mr. Sigmon’s state-created interest in the right to choose

   between the two methods of execution authorized by South Carolina law.

46. Apart from interests that flow directly from the words in the Due Process Clause,

   a state also triggers procedural due process protections when it creates a

   legitimate claim of entitlement through law or “the existence of rules and

   understandings, promulgated and fostered by state officials.”         See Perry v.

   Sindermann, 408 U.S. 593, 602-03 (1972). See, also e.g., Vitek v. Jones, 445

   U.S. 480, 489-90 (1980) (statute providing that prisoners could be transferred to

   mental institutions only if found to suffer from mental diseases or defects created

   a protectable liberty interest); Greenholtz v. Inmates, Neb. Penal & Corr. Complex,



                                        17
 3:21-cv-00278-RBH       Date Filed 01/28/21    Entry Number 1      Page 18 of 26




   442 U.S. 1 (1979) (protected liberty interest in parole); Wolff v. McDonnell, 418

   U.S. 539, 557 (1974) (statute granting good time credit to prisoners for time served

   absent serious misconduct created protectable liberty interest); Gagnon v.

   Scarpelli, 411 U.S. 778 (1973) (same as to probation revocation); Morrissey v.

   Brewer, 408 U.S. 471 (1972) (same as to parole revocation).

47. By enacting a statute that gives condemned inmates the right to elect between the

   two authorized methods of execution, South Carolina has created a protected

   liberty interest. See Wolff, 418 U.S. at 557 (“[T]he State having created [a] right

   [to a process] . . . the prisoner’s interest has real substance and is sufficiently

   embraced within Fourteenth Amendment ‘liberty’ to entitle him to those minimum

   procedures appropriate under the circumstances and required by the Due Process

   Clause to insure that the state-created right is not arbitrarily abrogated.”). And

   because the statute includes the option to waive the decision, the statute

   encompasses the right to make an informed decision. See United States v. Olano,

   507 U.S. 725, 733 (1993) (“Whereas forfeiture is the failure to make the timely

   assertion of a right, waiver is the ‘intentional relinquishment or abandonment of a

   known right.’” (quoting Johnson v. Zerbst, 304 U.S. 458, 464 (1938)).

48. Once a state has enacted a statute or promulgated an agency rule that gives its

   citizens a legitimate expectation that they will receive the benefit of the state law,

   the state may not then deprive its citizens of the those benefits without providing

   due process. See Perry, 408 U.S. at 602-03. What process a citizen is due

   depends on the nature of the interest at stake.

49. To assess the adequacy of a given state procedure, courts must balance three



                                         18
 3:21-cv-00278-RBH       Date Filed 01/28/21    Entry Number 1      Page 19 of 26




   factors: (1) the weight of the individual interest at stake; (2) “the risk of an

   erroneous deprivation of such interest through the procedures used, and the

   probable value, if any, of additional or substitute procedural safeguards”; and,

   (3) the government's interest in maintaining the existing procedures. Mathews v.

   Eldridge, 424 U.S. 319, 323, 335 (1976).

50. Mr. Sigmon’s interest here is weighty.     South Carolina did not have to give

   condemned individuals the right to make an informed decision about how they will

   die, but it did. As a result, Mr. Sigmon’s right to make that selection is a now

   corollary to “the duty of the government to respect the dignity of all persons.” Hall

   v. Florida, 572 U.S. 701, 708 (2014) (quoting Roper v. Simmons, 543 U.S. 551,

   572 (2005)); see also Bush v. Gore, 531 U.S. 98, 104 (2000) (states may not

   arbitrarily depart from established process); Myers v. Ylst, 897 F.2d 417, 421 (9th

   Cir. 1990) (“[W]e agree that once a state has established a rule it must be applied

   evenhandedly.”).

51. Without the additional process Mr. Sigmon has requested—access to basic

   information about how he will be executed and an opportunity to pursue that

   information in the courts, if appropriate—there is a documented, unacceptably high

   risk that the State will carry out an unconstitutional execution. This is the process

   available in all other jurisdictions that carry out executions, and it is the process

   guaranteed under the constitution. E.g. Bucklew v. Precythe, 139 S. Ct. 1112,

   1121-22 (2019) (examining, with a stay of execution in place, a state’s proposed

   method of execution in great detail, only after the condemned man had an

   opportunity for “extensive discovery”).



                                        19
 3:21-cv-00278-RBH       Date Filed 01/28/21     Entry Number 1       Page 20 of 26




52. SCDC’s historical practice reinforces the notion that a condemned person in South

   Carolina has a right to the information Mr. Sigmon now seeks and that the

   additional burden on the state would be minimal. On information and belief, before

   every other execution in the past thirty years, SCDC has provided inmates and

   their attorneys, upon their request, access to detailed information about how the

   execution will be carried out.

53. Because SCDC has arbitrarily decided not to give Mr. Sigmon any information

   about how it plans to execute him, Mr. Sigmon cannot make an informed choice

   between death by electrocution or lethal injection and cannot make a valid waiver

   of that decision. Tomorrow, he must choose between two methods of execution,

   lacking more than the barest description of either. If he declines to exercise it,

   Defendants will execute him by lethal injection.

54. More disturbingly, Defendants give every indication of moving forward with Mr.

   Sigmon’s execution despite representing that they have no drugs for use in lethal

   injection. That, combined with Defendants’ claim of right to amend the protocol at

   any time, suggests that they intend to ambush Plaintiff by executing him with drugs

   obtained at the last minute, from whatever supplier might hastily provide them, with

   no opportunity for Plaintiff to review the lethal injection protocol for potential

   constitutional violations. If Defendants present Plaintiff with the protocol (or present

   him with changing protocols, as they have indicated they may do) after the election

   date on Friday, January 29th, Plaintiff has no right to “re-elect” under the statute.

   This shocking behavior is both arbitrary and fundamentally unfair to Plaintiff.

55. The additional process Mr. Sigmon has requested would impose a de minimus



                                         20
 3:21-cv-00278-RBH        Date Filed 01/28/21    Entry Number 1      Page 21 of 26




   burden on Defendants. Defendants have no valid interest in withholding this

   information.

                       FOR A THIRD CAUSE OF ACTION

         (Violation of Prohibition on Cruel and Unusual Punishment)

56. The 8th Amendment to the United States Constitution prohibits the infliction of

   cruel and unusual punishment and is applicable to the States through the 14th

   Amendment.

57. A bedrock principle of our rule of law is that “where there is a legal right, there is

   also a legal remedy by suit or action at law, whenever that right is invaded.” See

   Marbury v. Madison, 5 U.S. 137, 163 (1803).

58. As a corollary to this principle, the Supreme Court has recognized that, as a matter

   of fundamental fairness, States must provide condemned people with sufficient

   process to protect themselves against executions that would violate the Eighth

   Amendment. E.g., Ford v. Wainwright, 477 U.S. 399, 417-18 (1986) (plurality

   opinion) (once a condemned person has made a facially adequate showing of

   incompetence, states must afford adequate process to protect against an

   unconstitutional execution); Morgan v. Illinois, 504 U.S. 719, 728-29 (1992) (at jury

   voir dire in a capital case, a condemned person is entitled to additional information

   and procedures to assess the impartiality of jurors).

59. Mr. Sigmon has the right to challenge his method of execution if that execution will

   create needless suffering or expose him to an “objectively intolerable risk of

   serious harm.” Baze v. Rees, 553 U.S. 35, 50 (2008).

60. The Defendants’ secrecy prevents Plaintiff from determining whether the method



                                         21
 3:21-cv-00278-RBH       Date Filed 01/28/21     Entry Number 1      Page 22 of 26




   the State plans to use for his execution is constitutional. Mr. Sigmon must be able

   to meaningfully review the specific methods by which he will be executed and

   present any infirmities in those methods to a competent court.

61. To vindicate his rights under the Eighth Amendment, Mr. Sigmon must have

   adequate time prior to his execution date to review the protocol and additional

   information he has requested in consultation with experts in order to prepare for

   the possibility of a constitutional violation. See Hall, 132 S. Ct. at 2001 (“Persons

   facing [death] must have a fair opportunity to show that the Constitution prohibits

   their execution.”).

62. The pleading standards for these challenges are complex and fact intensive, and

   require the inmate to show (1) that the challenged method of executions poses a

   sure or very likely risk of serious illness and needless suffering and (2) that there

   exists an alternative method of execution that is feasible and readily implemented

   and that will significantly reduce the risk of serious pain. Baze, 553 U.S. at 50, 52.

   As § 24-3-530(A) places no restrictions on how Defendants may administer lethal

   injections and electrocutions, Mr. Sigmon can have no way of knowing how they

   propose to execute him in anything but the broadest terms unless they provide

   their protocols. Defendants’ secrecy, and their claim of right to amend their

   execution protocols at any time without notice, therefore makes it impossible for

   Mr. Sigmon to satisfy these pleading requirements beyond allegations on

   information and belief. But see Arista Records, LLC v. Doe 3, 604 F.3d 110, 120

   (2d Cir. 2010) (“The Twombly plausibility standard, which applies to all civil actions,

   does not prevent a plaintiff from ‘pleading facts alleged upon information and belief’



                                         22
 3:21-cv-00278-RBH          Date Filed 01/28/21    Entry Number 1         Page 23 of 26




   where the facts are peculiarly within the possession and control of the defendant.”

   (internal citations omitted)); Innova Hosp. San Antonio, Limited Partnership v. Blue

   Cross & Blue Shield of Ga., Inc., 892 F.3d 719, 730 (5th Cir. 2018) (“[W]hen

   discoverable information is in the control and possession of a defendant, it is not

   necessarily the plaintiff’s responsibility to provide that information in her

   complaint.”); Green v. Beth, 663 Fed. App’x 471, 473-74 (7th Cir. 2016) (same, for

   allegation    of   deliberate   indifference   under    the   Eighth    and   Fourteenth

   Amendments). Upon such information and belief, however, Mr. Sigmon alleges

   that if Defendants’ protocols, once disclosed, reveal an unconstitutional risk, he

   will be able to identify and plead reasonably available alternatives, including

   safeguards to Defendants’ protocols or a different method.

63. Their interference with Plaintiff’s efforts to assert his constitutionally protected right

   not to die by torturous means is a violation of the Eighth Amendment because it

   exposes him to an objectively intolerable risk of serious harm.

64. Executing Plaintiff pursuant to a lethal injection or electrocution protocol without

   established safeguards would violate his rights under the Eighth and Fourteenth

   Amendments to be free from Cruel and Unusual Punishment.

65. The Defendants are deliberately indifferent to Plaintiff’s rights in violation of the

   Eighth and Fourteenth Amendments.

66. Defendants’ refusals to disclose have violated and will continue to violate Plaintiff’s

   constitutional rights.

                       FOR A FOURTH CAUSE OF ACTION

                            (Violation of Right to Counsel)



                                           23
 3:21-cv-00278-RBH         Date Filed 01/28/21    Entry Number 1      Page 24 of 26




67. The 5th, 6th, and 14th Amendments to the United States Constitution guarantee

   the right to counsel.

68. Plaintiff has the right to counsel at all critical stages of his case, including the

   election of an execution method and his actual execution.

69. In addition to a constitutional right to counsel, Plaintiff has a statutory right to

   counsel pursuant to federal law.

70. The Criminal Justice Act (CJA) and CJA policies require a district court to appoint

   counsel for an indigent person who is seeking to set aside or vacate a death

   sentence in proceedings under 28 U.S.C. § 2254. See 18 U.S.C. § 3006A(a)(1).

71. Plaintiff’s counsel were appointed pursuant to the CJA and 18 U.S.C. § 3599(e).

   See DE 173, 251, 260. Sigmon v. Stirling, et. al., 8:13-cv-01399-RBH.

72. Plaintiff has a statutory and constitutional right to representation up until his death

   sentence is carried out. The assistance of counsel means the effective assistance

   of counsel.

73. By denying Plaintiff and his counsel access to information that is necessary for

   Plaintiff to make the election decision, Defendants have denied Plaintiff the right

   to assistance of counsel.

                           FOR A FIFTH CAUSE OF ACTION

                        (Request for Declaratory Judgment)

74. As set out in this Complaint, the Defendants’ actions have violated Plaintiff’s clearly

   established constitutional rights under the 5th, 6th, 8th, and 14th Amendments to

   the United States Constitution.

75. 28 U.S.C. § 2201 grants this Court broad authority to declare the rights and



                                          24
 3:21-cv-00278-RBH        Date Filed 01/28/21    Entry Number 1       Page 25 of 26




   relations of parties before it.

76. Plaintiff asks this Court to declare the Defendants have violated his constitutional

   rights as described in this Complaint and fashion any appropriate relief to vindicate

   those rights.

                        FOR A SIXTH CAUSE OF ACTION

                       (Request for Preliminary Injunction)

77. Plaintiff requests this Court enjoin the Defendants from executing him with a secret

   protocol and method they refuse to release to Plaintiff or his attorneys. Plaintiff will

   file a motion in support of this request.

                               PRAYER FOR RELIEF

   Plaintiff requests the Court grant the following relief:

       a. A preliminary injunction prohibiting the Defendants from carrying out or

          attempting to carry out the execution of Plaintiff Sigmon without providing

          him the information he has requested with sufficient notice of at least one

          month ahead of his execution date.

       b. Declaratory relief as requested in this Complaint.

       c. Any other relief the Court deems just and proper.


                                        Respectfully Submitted,

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                                         25
    3:21-cv-00278-RBH   Date Filed 01/28/21   Entry Number 1   Page 26 of 26




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                                      26
